Case 20-20508-CMB       Doc 69    Filed 03/16/22 Entered 03/16/22 15:52:42          Desc Main
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  IN THE UNITED STATES BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF
                            PENNSYLVANIA

In Re:                                     )
                                           )       BANKR. NO. 20-20508-CMB
GREGORY A. RAGER and                       )
HOLLY J. RAGER,                            )
                                           )       CHAPTER 13
            Debtors.                       )
_________________________________          )       Related to: Document No. 63
                                           )
GREGORY A. RAGER and                       )
HOLLY J. RAGER,                            )
                                           )
              Debtors/Movants,             )
                                           )
         v.                                )
                                           )
FREEDOM MORTGAGE CORP.,                    )
                                           )
              Creditor/Respondent.         )

                                           ORDER

        AND NOW, this ______16th day of ___________________,
                                               March                 2022, it is hereby ORDERED
that the deadline for filing a motion for loss mitigation is extended to March 14, 2022.



                                                      ________________________
                                                   ___________________________________
                                                      Carlota M. Böhm
                                                   CARLOTA M. BÖHM,
                                                      Chief United States Bankruptcy Judge
                                                   Chief Bankruptcy Judge
                                                      FILED
                                                      3/16/22 3:50 pm
                                                      CLERK
                                                      U.S. BANKRUPTCY
                                                      COURT - WDPA
